      Case 3:20-cr-01299-AJB Document 147 Filed 06/09/22 PageID.818 Page 1 of 1




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 4
                           UNITED STATES DISTRICT COURT
 5
                        SOUTHERN DISTRICT OF CALIFORNIA
 6                            (Hon. Anthony J. Battaglia)
 7
     UNITED STATES OF AMERICA,                       CASE NO. 20-CR-1299-AJB
 8
 9                                   Plaintiff,      ORDER GRANTING MOTION TO
                                                     ALLOW OUT OF DISTRICT
10          vs.                                      TRAVEL
11
     JOHN ANGEL RODRIGUEZ,
12
13                                   Defendant.
14
           Based upon the joint motion of the parties, and GOOD CAUSE appearing, it is
15
16 hereby ordered that Defendant RODRIGUEZ may travel to and from Somerton, Arizona
17
     for a church outreach on Saturday the 11th of June. He may return Sunday evening.
18
19         IT IS FURTHER ORDERED that Defendant RODRIGUEZ notify his U.S. Pretrial

20 Services Officer prior to his departure and within 24 hours of his return.
21
         IT IS SO ORDERED:
22
23 Dated: June 9, 2022
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